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     and Proposed Class Counsel
 8
                               UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                    WESTERN DIVISION
11
     SEAN SKURO, on behalf of himself                   CASE NO.: CV 10-8672-GW (FFMx)
12   and all others similarly situated, and on
     behalf of the general public,                      NOTICE OF MOTION AND
13
                 Plaintiffs,                            UNOPPOSED MOTION FOR
14                                                      PRELIMINARY APPROVAL OF
         v.                                             CLASS ACTION SETTLEMENT
15
     BMW OF NORTH AMERICA, LLC, a                       DATE: February 23, 2012
16   Delaware limited liability company,                TIME: 8:30 A.M.
     ATX Group, Inc., a Texas corporation,
17   and DOES 1 through 50, inclusive,                  COURTROOM: 10
                                                        JUDGE: Hon. George H. Wu
18
                 Defendants.
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 1         TO THE COURT AND TO ALL PARTIES:
 2         PLEASE TAKE NOTICE that on February 23, 2012 at 8:30 a.m., in
 3   Courtroom 10 of the above-entitled Court, located at 312 N. Spring Street, Los
 4   Angeles, California 90012, Plaintiff Sean Skuro will, and hereby does, move this
 5   Court for an order granting preliminary approval of a proposed class action
 6   settlement.   The terms of the settlement are contained within the Settlement
 7   Agreement and Release between Plaintiff and Defendants (“Stipulation of
 8   Settlement”) filed herewith. This motion is unopposed by Defendants.
 9         This motion will be based on this Notice and accompanying Memorandum of
10   Points and Authorities, the Declarations of Kenneth S. Gaines, Daniel F. Gaines, and
11   Alex P. Katofsky, the Stipulation of Settlement (including exhibits), all filed
12   herewith, and on such further evidence and argument as may be presented at the
13   hearing.
14
     Dated: January 24, 2012              Respectfully Submitted,
15
16                                        GAINES & GAINES, APLC
17
18                                        By:        /s/
                                                     Kenneth S. Gaines, Esq.
19
                                                     Daniel F. Gaines, Esq.
20                                                   Alex P. Katofsky, Esq.
                                                     Attorneys for Plaintiff Sean Skuro and
21
                                                     Proposed Class Counsel
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 1   I.      INTRODUCTION
 2           The parties to this action are pleased to report that they have reached a fair,
 3   reasonable, and arm’s length agreement to settle this matter. The settlement provides
 4   real, valuable relief to more than 40,000 California consumers. Plaintiff Sean Skuro
 5   (“Plaintiff” or “Skuro”) on behalf of himself and others similarly situated, and
 6   Defendants BMW of North America, LLC (“BMW”) and ATX Group, Inc.1 (“ATX”)
 7   (BMW and ATX are referred to collectively as “Defendants”; Plaintiff, BMW, and
 8   ATX as the “Parties”) seek preliminary approval of their proposed class action
 9   settlement.
10           Plaintiff brought this action against Defendants after learning that nearly all
11   telephone calls placed to the BMW Assist, a subscription-based service offered as a
12   safety and convenience option in many BMW vehicles and administered by ATX, are
13   recorded for quality assurance purposes. Plaintiff alleges that prior to this lawsuit,
14   Defendants provided no contemporaneous verbal disclosure to users that their calls
15   with the BMW Assist service would be recorded, which Plaintiff contends violates
16   Cal. Penal Code § 630 et. seq. For their part, Defendants contend that, among other
17   things, the BMW Assist subscription agreement and website have at all relevant times
18   provided appropriate notice and pre-authorization of potential call recording and now
19   include on calls to BMW Assist a pre-recorded notice that calls may be recorded or
20   monitored.
21           As a result of this settlement, Defendants have agreed that the practice at the
22   heart of this litigation—the recording of calls without what Plaintiff contends are
23   appropriate contemporaneous verbal disclosures—will cease.          Subject to future
24   changes in law, Defendants shall provide verbal disclosure to all California BMW
25   Assist users prior to recording their calls.
26
27
     1
28       ATX is now known as Agero Connected Services, Inc.

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 1          Although the Parties understand that no class member, including Plaintiff, has
 2   suffered any actual damages from the violations alleged, the compromise provides the
 3   settlement class members with the following choice of relief: (1) a cash payment not
 4   to exceed $50 from a non-reversionary common fund to be established by
 5   Defendants, with any unclaimed portion to be paid to Big Brother/Big Sister of
 6   America , subject to the approval of the Court in connection with the final approval
 7   process. ; or (2) an extension or upgrade of a class member’s existing BMW Assist
 8   service, valued at approximately $100. Every settlement class member who does not
 9   opt out of this settlement, if finally approved, will receive one of these two benefits,
10   at the member’s option.       The value of the settlement consideration, including
11   attorneys’ fees and costs and administration expenses to be paid separately by
12   Defendants, exceeds $5,000,000.
13          This proposed settlement2 resolves all of the Named Plaintiffs’ and settlement
14   class members’ claims against BMW and ATX, and satisfies all of the criteria for
15   preliminary settlement approval under Federal law, and is fair, reasonable, and
16   adequate. Accordingly, the Parties request that the Court:
17       1. Provisionally certify the proposed settlement class for settlement purposes,
18       2. Grant preliminary approval of the proposed Settlement;
19       3. Approve the proposed notice program and the forms proposed by the parties
20             (collectively the “Settlement Documents”);
21       4. Confirm the appointment of Plaintiff Sean Skuro as Class Representative;
22       5. Confirm the appointment of Kenneth S. Gaines, Daniel F. Gaines, and Alex P.
23             Katofsky of Gaines & Gaines, APLC as Settlement Class Counsel;
24       6. Confirm the appointment of either Gilardi & Co, LLC or Kurtzman Carson
25             Consultants LLC as settlement administrator (to be decided by the time of
26
27   2
      The Parties’ Stipulation of Settlement is attached to the Declaration of Daniel F.
28   Gaines, submitted herewith, as Exhibit “A.”

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 1               the preliminary approval hearing by Defendants, and with Defendants
 2               reserving the right to name a new administrator subject to Court approval);
 3         7. Set deadlines for mailing Settlement Documents and for submitting a claim,
 4               opting out or objecting to the settlement; and
 5         8. Schedule a final approval hearing.
 6   II.      FACTUAL BACKGROUND
 7            On October 13, 2010, Plaintiff filed a Class Action Complaint against BMW
 8   and Doe defendants in the Los Angeles Superior Court, which BMW removed to the
 9   United States District Court for the Central District of California pursuant to the
10   Class Action Fairness Act, 28 U.S.C. § 1441(b) (“CAFA”). In his Complaint (later
11   amended), Plaintiff alleges BMW and the Doe defendants surreptitiously recorded
12   telephone calls with users of the BMW Assist service, without customers’ knowledge
13   or consent. The original Complaint alleged various claims stemming from these
14   recordings, including the violation of Cal. Penal Code, § 630 et. seq., and sought
15   statutory damages pursuant to Penal Code § 637.2 of $5,000 per allegedly unlawful
16   recording. Declaration of Daniel F. Gaines in Support of Unopposed Motion for
17   Preliminary Approval of Class Action Settlement (“Gaines Decl.”) at ¶ 7.
18            Shortly after removal, Plaintiff discovered ATX may be a proper defendant and
19   added it as a party to a First Amended Complaint filed in this Court on or about
20   November 17, 2010 (Docket No. 3). ATX principally administers the operations of
21   the BMW Assist service, including operating the call centers which take BMW Assist
22   calls. Gaines Decl. at ¶ 8.
23            Plaintiff filed the Second Amended Complaint (“SAC”) on May 18, 2011,
24   asserting claims for invasion of privacy (violations of California Penal Code section
25   630 et. seq.) and negligence (Docket No. 26). In the SAC, Plaintiff seeks statutory
26   damages pursuant to Penal Code section 637.2, injunctive relief pursuant to Penal
27   Code 637.2(b), and compensatory damages. Gaines Decl. at ¶ 9.
28
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 1         Plaintiff engaged in extensive discovery and investigation during the course of
 2   more than one year of litigation in preparing for a class certification motion and a
 3   motion for summary judgment. Plaintiff’s counsel took multiple depositions in Los
 4   Angeles, New York, and Dallas, and we prepared, served and reviewed written
 5   interrogatories, requests for admission, and numerous document production requests.
 6   Plaintiff’s counsel has reviewed thousands of documents produced in connection with
 7   the litigation, engaged in extensive research and inquiry with respect to the claims
 8   asserted in the Action, and has vigorously litigated the matter on behalf of the class.
 9   Gaines Decl. at ¶¶ 10-11.
10         The facts are clear. BMW hired ATX to implement the BMW Assist program
11   it offers in its automobiles. For quality assurance purposes, approximately 99% of all
12   calls with the BMW Assist service – either through a vehicle’s wireless telephone
13   connection or via a call to the BMW Assist toll-free phone number – are recorded.
14   Prior to the commencement of this lawsuit, callers were provided no
15   contemporaneous verbal disclosure that their calls would be recorded, which Plaintiff
16   contends violates the laws at issue in his SAC. Gaines Decl. at ¶ 12.
17         Without admitting liability, shortly after the commencement of this action,
18   ATX began to provide a verbal disclosure to all callers to the BMW Assist service at
19   the outset of their calls that the call may be recorded or monitored. Notwithstanding
20   these changes – which the settlement agreement requires (subject to certain
21   conditions) – Defendants assert numerous defenses to both certification and the
22   merits of Plaintiff’s and class members’ claims, including but not limited to defenses
23   based on disclosures and authorizations contained in the Subscription Agreement
24   required to receive BMW Assist Services and on the BMW Assist website and that
25   the drafters of the applicable statutes did not intend them to govern the types of
26   conduct Plaintiff’s allege. Gaines Decl. at ¶ 13.
27         Plaintiff steadfastly maintained the viability and likely success of his claims on
28   a classwide basis.
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 1           Following extensive discovery and assessment of the risks involved in further
 2   litigation, the Parties engaged in pre-certification settlement discussions, which
 3   included a formal mediation session on April 25, 2011 with the Honorable George P.
 4   Schiavelli, United States District Judge, Retired. The mediation session did not result
 5   in a settlement, and litigation continued. Gaines Decl. at ¶ 14.
 6           On or about May 13, 2011, Plaintiff filed his motion for class certification.
 7   The Parties requested, and the Court approved, several continuances of the hearing on
 8   this motion so the Parties could attempt to negotiate a resolution prior to the ruling
 9   Plaintiff’s motion for class certification. Plaintiff recognized that if Plaintiff did not
10   prevail on this motion, few – if any – class members would ever pursue individual
11   claims based on allegations of the Action, because of both the novelty and
12   surreptitious nature of the alleged privacy violations. Gaines Decl. at ¶ 15.
13           Recognizing the substantial risks to all Parties on a ruling on Plaintiff’s motion
14   for class certification, the Parties agreed to participate in a second mediation session
15   on September 27, 2011 with the Honorable Stephen E. Haberfeld, United States
16   Magistrate Judge, Retired. Again, no agreement to resolve the case was reached.
17   Litigation and settlement discussions continued. Gaines Decl. at ¶ 16.
18           Following lengthy and intensive negotiations, on or about November 10, 2011,
19   the Parties reached an agreement in principle to resolve the entire action (excluding
20   terms regarding payment of Plaintiff’s counsel’s attorneys’ fees and costs, and
21   Plaintiff’s service payment, which were subsequently negotiated and agreed to in
22   January 2012. Gaines Decl. at ¶ 17.
23           The Settlement Agreement and Release, entered into on January 24, 2012,
24   embodies a comprehensive resolution of all claims encompassed in the Action.
25   Gaines Decl. at ¶ 18.
26   \\
27   \\
28   \\
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 1   III.   SUMMARY OF SETTLEMENT TERMS
 2          A copy of the Settlement Agreement and Release is attached and marked
 3   Exhibit “A” to the Declaration of Daniel F. Gaines (hereinafter “Stipulation of
 4   Settlement” or “Stip.”), submitted herewith. Its significant terms are set forth below.
 5          A.    The Settlement Class
 6          The Settlement Class is defined as:
 7                Individuals who connected to BMW Assist between
                  October 13, 2009 and February 1, 2011 through BMW
 8
                  Assist subscription accounts with California billing
 9                addresses.
10
            Stip. at ¶ I(11). Excluded from the class are (1) BMW NA and ATX, their
11
     subsidiaries and affiliates, officers, directors, and employees, (2) all persons and/or
12
     entities claiming to be subrogated to the rights of Class Members, (3) individuals
13
     and/or entities who validly and timely opt-out of the Settlement, (4) Class Members
14
     who previously have released their claims against BMW NA or ATX with respect to
15
     the issues raised in the Litigation, (5) individuals or entities that have purchased
16
     and/or leased Class Vehicles as “fleet” vehicles (i.e. authorized BMW Centers, rental
17
     companies, or entities that purchased BMW vehicles as company vehicles), and (6)
18
     the Judge(s) and/or attorneys to whom the Litigation is or will be assigned. Id.
19
            B.    Settlement Consideration
20
                  1.    Cash Benefit to Class Members who Submit a Claim
21
            Defendants will establish a non-reversionary fund of $300,000, from which
22
     Class Members may affirmatively submit a claim to receive a cash payment. Each
23
     class member who submits a claim will be paid a pro rata share of the fund, not to
24
     exceed $50 each. Stip. at ¶ 24. The Parties propose that, subject to the Court’s
25
     approval, any unclaimed portion of the fund will be paid to Big Brother/Big Sister of
26
     America, Defendants’ designated charitable organization. Stip. at ¶ 6.
27
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 1                  2.    Non-Cash Benefit to Class Members Who Do Not Submit a
 2                        Claim
 3            In addition the non-reversionary fund described above, Defendants shall
 4   provide a service benefit to all Class Members, except those who affirmatively elect
 5   to be paid the cash option or opt-out from the settlement altogether. No claim is
 6   required to receive the service benefit, and it will automatically be available to each
 7   and every Class Member who has not elected to receive the cash benefit and submits
 8   a signed “Subscription Agreement Addendum.” Stip. at ¶ I.35.
 9            The service benefit, with a retail value of approximately $100.00, consists of
10   one of the following, depending upon the class members’ existing BMW Assist
11   account status and their preference: (1) a 6-month upgrade to the BMW Assist
12   “convenience plan”; (2) a 6-month extension to the BMW Assist basic safety plan; or
13   (3) a 6-month enrollment in the BMW Assist basic safety plan (with costs of re-
14   provisioning vehicle, if any, to be paid by the claimant). Stip. at ¶ I.31. To receive
15   the service benefit, Class Members must enter into a Subscription Agreement
16   Addendum, which will be made available on the settlement website and mailed as
17   part of the class notice package. Stip. at ¶ I.35.
18            The service benefit is transferrable. It may be transferred on a one-time basis
19   prior to the initiation of the service upgrade/extension under the Settlement to another
20   car that has access to the BMW Assist program within the same household. Stip. at ¶
21   III.E.
22                  3.    Non-Monetary Relief
23            Without admitting liability, Defendants have agreed to comply with the
24   requirements of Cal. Penal Code § 630 et. seq., including providing
25   contemporaneous verbal notification to California BMW Assist callers when their
26   telephone calls may be recorded. Stip. at ¶ III.D.
27   \\
28   \\
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 1                4.    Payment of Claims Administration Expenses
 2         Defendants have tentatively selected either Gilardi & Co, LLC or Kurtzman
 3   Carson Consultants LLC as settlement administrator (to be decided by Defendants by
 4   the time of the preliminary approval hearing, and with Defendants reserving the right
 5   to name a new administrator subject to Court approval). Both of these companies are
 6   experienced and reputable settlement administrators who are competent to provision
 7   notice and facilitate the claims/opt-out process. The cost of settlement administration
 8   shall be borne exclusively by Defendants separate and apart from all other payments
 9   and services they are obligated to provide by the Settlement. Stip. at ¶ I.10.
10                5.    Service Payment to the Class Representative
11         The Settlement provides that Plaintiff Skuro may request a service payment of
12   up to $10,000, subject to the Court’s approval, which is intended to compensate him
13   for 1) his damages recoverable as a result of the claims alleged in the SAC, and 2) the
14   time, expense, and risk he has expended in bringing this lawsuit for the benefit of
15   Class Members. Stip. at ¶ IX.C. The service payment, if awarded, shall be borne
16   exclusively by Defendants separate and apart from all other payments and services
17   they are obligated to provide by the Settlement. Stip. at ¶ IX.C.
18                6.    Attorneys’ Fees and Costs to Class Counsel
19         The Settlement provides that Plaintiff’s counsel may request up to $550,000 as
20   an award of attorneys’ fees, representing approximately 10% of the total value of the
21   settlement consideration, in consideration of the time and effort they have expended
22   for the benefit of Plaintiff and Settlement Class Members In addition, the Settlement
23   provides that Plaintiff’s counsel may request up to $15,000 in reimbursement of
24   litigation costs actually and reasonably incurred during the course of this litigation.
25   All attorneys’ fees and costs awarded following a further motion by Plaintiff’s
26   counsel at the final approval stage shall be borne exclusively by Defendants separate
27   and apart from all other payments and services they are obligated to provide by the
28   Settlement. Stip. at ¶ IX.B.
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 1         C.     The Release by Plaintiff and Class Members
 2         The release, to which all Class Members (except for those who submit a valid
 3   and timely request for exclusion) will be bound, is as follows:
 4                “Defendants are released from any and all known and
                  unknown claims or causes of action that were, or could
 5
                  have been, asserted by the Plaintiff or any Class Members
 6                against them, based upon the facts and claims alleged in the
                  Action (the “Released Claims”). While the Release given
 7
                  by this Settlement Agreement is not a general release,
 8                Plaintiff and Class Members expressly waive and relinquish
                  to the fullest extent permitted by law, the rights provided by
 9
                  Section 1542 of the California Civil Code with respect to
10                the Released Claims, which provides as follows:
                         A general release does not extend to claims which the
11
                         creditor does not know or suspect to exist in his favor
12                       at the time of executing the release which if known
                         by him must have materially affected his settlement
13
                         with the debtor.
14                Plaintiff and the Settlement Class Members recognize that,
                  even if they later discover facts in addition to or different
15
                  from those which they now know or believe to be true, they
16                nevertheless agree that, upon entry of the Final Approval
17                Order and accompanying Judgment, Plaintiff and the
                  Settlement Class Members fully, finally, and forever settle
18                and release any and all of the Released Claims. The Parties
19                acknowledge that the foregoing waiver and release was
                  bargained for and is a material element of the Settlement
20                Agreement.”
21
           Stip. at ¶ VIII(A).
22
     IV.   PRELIMINARY SETTLEMENT APPROVAL PROCESS
23
           A class action may not be dismissed, compromised or settled without court
24
     approval. Fed. R. Civ. P. (“FRCP”) 23(e). Judicial proceedings under the Federal
25
     Rules of Civil Procedure have led to a defined procedure and specific criteria for
26
     settlement approval in class actions that are thoroughly described in the Manual for
27
     Complex Litigation (Fourth) (“Manual (Fourth)”) § 21.62 (2004). Federal Rule of
28
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 1   Civil Procedure 23(e) sets forth a “two-step process in which the Court first
 2   determines whether a proposed class action settlement deserves preliminary approval
 3   and then, after notice is given to class members, whether final approval is warranted.”
 4   Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal.
 5   2004) (citing Manual for Complex Litigation (Third) § 30.41 (1995)).
 6         Preliminary settlement approval and notice to the proposed class are
 7   appropriate where “the proposed settlement appears to be the product of serious,
 8   informed, non-collusive negotiations, has no obvious deficiencies, does not
 9   improperly grant preferential treatment to class representatives or segments of the
10   class, and falls within the range of possible approval.” In re Tableware Antitrust
11   Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007) (quoting Schwartz v. Dallas
12   Cowboys Football Club, Ltd., 157 F. Supp. 2d 561, 570 n. 12 (E.D. Pa. 2001)); see
13   also Hanlon v. Chrysler Corp., 150 F. 3d 1011, 1027 (9th Cir. 1998) (the court’s task
14   is to “balance a number of factors,” including “the risk, expense, complexity, and
15   likely duration of further litigation,” “the extent of discovery completed and the stage
16   of the proceedings,” and “the amount offered in settlement”). This procedure for
17   preliminary approval of settlement agreements, endorsed by the leading class action
18   commentator, Professor Newberg, and commonly used by Federal courts, safeguards
19   class members’ procedural due process rights and enables a court to fulfill its role as
20   the “guardian” of the class. See 4 Alba Conte & Herbert B. Newberg, Newberg on
21   Class Actions (“Newberg”), § 11.22 (4th ed. 2002).
22         The approval or rejection of the proposed settlement is committed to the
23   Court’s sound discretion. See Class Plaintiffs v. City of Seattle, 955 F. 2d 1268, 1276
24   (9th Cir. 1992) (in the context of a class action settlement, appellate court cannot
25   “substitute [its] notions of fairness for those of the [trial] judge and the parties to the
26   agreement,” and will reverse only upon a strong showing of abuse of discretion).
27         The Court’s preliminary evaluation of the proposed settlement purports to
28   determine whether it is within the permissible “range of reasonableness” and thus,
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 1   whether the notice to the class is appropriate. 4 Newberg § 11.25-26; Manual for
 2   Complex Litigation (Third) (“Manual (Third)”) § 30.41 (1995).
 3         A.     Provisional Certification of the Settlement Class
 4         The Parties request that the Court provisionally certify the proposed Settlement
 5   Class. Provisional class certification is appropriate at the preliminary approval stage
 6   where, as here, the proposed settlement class (as defined in the parties’ Settlement)
 7   has not previously been certified by the Court, and the requirements for certification
 8   are met. 4 Newberg § 11.22; see generally, Gaines Decl. at ¶¶26-34. Pragmatically,
 9   provisional class certification facilitates distribution of notice on the terms of the
10   proposed settlement and the date and time of the final approval hearing to all
11   settlement class members. See Manual (Third) § 30.41.
12         The additional rulings sought by this motion – approving the form, content and
13   distribution of the Settlement Documents and scheduling a formal fairness hearing –
14   facilitate the settlement approval process, and are also traditionally made at this
15   preliminary approval stage. 4 Newberg § 11.26.
16         B.     Settlement Administration Timeline
17         The following schedule sets forth a proposed sequence for the relevant dates
18   and deadlines embodied in the Settlement, conditioned upon this Court granting
19   preliminary approval of the proposed Settlement. This is outlined in the Proposed
20   Order filed herewith. See Stip. at ¶ 10.2:
21   Last day for Defendants to mail notice to Class Members     60 days after
                                                                 preliminary approval
22
     Last day for requests for exclusion from the settlement and 120 days after
23   claims for a cash payment to be postmarked by Class         preliminary approval
     Members
24
     Last day for Plaintiff to file motion for final approval of 127 days after
25   settlement and application for attorneys’ fees and costs,   preliminary approval
26   class representative’s service payment, and claims
     administration expenses
27   Last day for Class Members to file objections to the        134 days after
28   settlement                                                  preliminary approval

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 1   Last day for the Parties to reply to any objections filed by   144 days after
     Class Members                                                  preliminary approval
 2
     Hearing on motion for final approval of settlement and         154 days after
 3   application for attorneys’ fees and costs and class            preliminary approval
     representative’s service payment                               (or as otherwise set by
 4
                                                                    the Court
 5
 6   V.    PRELIMINARY APPROVAL OF THE SETTLEMENT IS
           APPROPRIATE
 7
 8         The law favors settlement, particularly in class actions and other complex cases
 9   where substantial resources can be conserved by avoiding the time, cost and rigors of
10   formal litigation. See 4 Newberg § 11.41 (and cases cited therein); Van Bronkhorst v.
11   Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976).
12         Preliminary evaluation of class action settlements is intended to determine only
13   whether the proposed settlement is within the range of possible approval or whether it
14   is potentially fair, as the Court will make a final determination on adequacy at the
15   final approval hearing. See Acosta v. Trans Union LLC, 243 F.R.D. 377, 386 (C.D.
16   Cal. 2007); In re Traffic Exec. Ass’n, 627 F.2d 631, 633-34 (2d Cir. 1980); 4
17   Newberg § 11.25.
18         The Court thus has broad powers to determine whether a proposed settlement is
19   fair under the circumstances of the case, see Torrisi v. Tucson Elec. Power Co., 8
20   F.3d 1370, 1375 (9th Cir. 1993); Acosta, 243 F.R.D. at 384 (citing Yamamoto v.
21   Omiya, 564 F.2d 1319, 1325 (9th Cir. 1977)), and preliminary approval of a
22   settlement agreement should be granted unless there are reasons to doubt its fairness
23   or there are other “obvious deficiencies” in the proposed settlement making it clear it
24   would not ultimately weather a final approval hearing.            See In re Prudential
25   Securities, Inc., 163 F.R.D. 200, 209 (S.D.N.Y. 1995).
26         To make this fairness determination, courts consider several relevant factors,
27   including the strength of the plaintiffs’ case, the risk, expense, complexity and likely
28   duration of further litigation, the risk of maintaining class action status through trial,
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 1   the amount offered in settlement, the extent of discovery completed and the stage of
 2   the proceedings, as well as the experience and views of counsel. Torrisi, 8 F.3d at
 3   1375. This list of factors is not exclusive, however, and the court may balance and
 4   weigh factors differently depending on the factual circumstances of each case. See id.
 5   at 1376.
 6         The Manual summarizes the preliminary approval criteria as follows:
 7         “If the preliminary evaluation of the proposed settlement does not disclose
 8   grounds to doubt its fairness or other obvious deficiencies, such as unduly
 9   preferential treatment of class representatives or of segments of the class, or
10   excessive compensation for attorneys, and appears to fall within the range of possible
11   approval, the court should direct that notice . . . be given to the Class Members of a
12   formal fairness hearing, at which arguments and evidence may be presented in
13   support of and in opposition to the settlement.” Manual (Third) § 30.41; see also 4
14   Newberg § 11.25.
15         When examining settlement agreements, a presumption of fairness exists
16   where: (1) the settlement is reached through arm’s-length bargaining; (2)
17   investigation and discovery are sufficient to allow counsel and the court to act
18   intelligently; (3) counsel is experienced in similar litigation; and (4) the percentage of
19   objectors is small. 4 Newberg § 11.41.
20         Here, the proposed Settlement clearly falls well within the range of
21   reasonableness as the terms of the agreement are fair and adequate and provide a fair
22   result for Plaintiff and Class Members, especially considering the complexities of the
23   case, the substantial risk inherent in non-certification, and the risks of not prevailing
24   on the merits at trial. Gaines Decl. at ¶¶ 16-25. Further, Plaintiff has engaged in
25   extensive discovery during more than a year of litigation, including depositions,
26   review of thousands of documents, and extensive written discovery. The Parties have
27   engaged in informed, good faith, arms-length negotiations with adequate access to
28
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 1   necessary information, and did so with the assistance of two highly regarded and
 2   experienced mediators. See generally Gaines Decl. at ¶¶ 11-25.
 3         Both Plaintiff’s counsel and Defendants’ counsel are experienced in class
 4   action matters and are capable of assessing the strengths and weaknesses of claims
 5   and the benefits of the proposed Settlement under the circumstances of the case and
 6   in the context of a private, consensual agreement. Plaintiff’s counsel believes the
 7   Settlement offers a fair result to Class Members, commensurate with the risks of
 8   further litigation. Accordingly, preliminary approval of the Settlement is appropriate.
 9   Gaines Decl. at ¶ 2-6, 16-24; Declaration of Kenneth S. Gaines at ¶¶ 2-5; Declaration
10   of Alex P. Katofsky at ¶¶ 2-4.
11         A.     The Terms of the Proposed Settlement Provide Reasonable
                  Compensation for Plaintiff’s and Class Members’ Damages
12
13         Ultimately, a settlement should stand or fall on the adequacy of its terms. In re
14   Corrugated Container Antitrust Litig., 643 F.2d 195, 211 (5th Cir. 1981).
15         This matter presents a unique factual pattern and the Settlement reflects an
16   excellent compromise.
17         The bases of the Class Members’ claims are statutes and case law which render
18   the recording of telephone conversations without the consent of all parties to the
19   conversation tortious conduct. Gaines Decl. at ¶¶ 8, 12. The California Penal Code
20   provides for statutory damages of $5,000 per occurrence (California Penal Code §
21   637.2).
22         Based upon the discovery completed thus far and the nature of the claims
23   alleged, neither Plaintiff Skuro, nor any other Class Member, has suffered actual
24   damages as a result of the conduct alleged in the lawsuit. In fact, it is suspected that
25   few – if any – Class Members even realize they have been subject to the harm alleged
26   on their behalf. Based on this analysis, whatever Class Members receive will be
27   nothing short of a windfall in exchange for the release of claims which they do not
28   know they have. Gaines Decl. at ¶ 19.

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 1         However, the purpose of the relevant laws – to discourage the surreptitious
 2   recording of telephone calls – will be advanced by this Settlement in several ways.
 3   The Defendants have not only changed their business practices by agreeing not to
 4   record telephone calls in the future without full verbal disclosure going forward, but
 5   they are providing a common fund and valuable services to compensate Class
 6   Members. Stip. at ¶ III.D; Gaines Decl. at ¶ 20.
 7         Defendants’ defenses to certification and liability are an important basis for
 8   validating the reasonableness of the settlement amount.         BMW and ATX have
 9   consistently maintained that they have ample legal and factual grounds for defending
10   this action on both class and merits issues. Gaines Decl. at ¶ 21.
11         Perhaps Defendants’ strongest defense was Plaintiff’s and Class Members’
12   purported knowledge of, and consent to, their call recording. Defendants contend
13   that each and every Class Member was provided with, and bound by, a subscription
14   agreement which adequately disclosed that calls with the BMW Assist service would
15   be recorded. There is no published opinion which addresses whether such a written
16   disclosure satisfies the notice requirements of Penal Code § 630 et. seq. If it does,
17   Plaintiff’s claims would be defeated in their entirety. Gaines Decl. at ¶ 22.
18         Defendants also argue that, based on the arbitration provision found in BMW
19   Assist user subscription agreements, and the Supreme Court’s recent decisions in
20   Stolt-Nielsen S.A. v. AnimalFeeds International Corp., 130 S.Ct. 1758 (2010) and
21   AT&T Mobility LLC v. Concepcion, 131 S.Ct. 1740 (2011), Plaintiff should be
22   compelled to arbitrate his claims individually, with no class relief available. This
23   would defeat Class Members’ claims in their entirety and potentially leave them
24   without any recourse due to the surreptitious nature of the privacy violations alleged.
25   Gaines Decl. at ¶ 23.
26         Defendants further contend that, despite Plaintiff’s claim for statutory damages
27   of $5,000 per Class Member, Plaintiff and Class Members are limited to damages in
28   the amount of the price they paid for their BMW Assist service (in the case of new
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 1   car purchases – such as Plaintiff – nothing), based on a damage limitation provision
 2   in the BMW Assist subscription agreement.           If Defendants prevailed on this
 3   argument, this would effectively defeat the vast majority of the value in Plaintiff’s
 4   claim. Gaines Decl. at ¶ 24.
 5         In considering the reasonableness of this settlement, Plaintiff was also keenly
 6   aware of the doctrine of annihilating damages and its potential impact on a class
 7   certification ruling. Several courts in the Central District of California have denied
 8   class certification of cases when the potential damage exposure following
 9   certification could potentially be so large that it would be “annihilating” to the
10   Defendant. See Najarian v. Avis Rent a Car Sys., No. CV 07-0588, 2007 U.S. Dist.
11   LEXIS 59932 (C.D. Cal. June 13, 2007); Soualian v. Int’l Coffee & Tea LLC, No. CV
12   07-0502, 2007 US. Dist. LEXIS 44208 (C.D. Cal June 11, 2007). Although the Ninth
13   Circuit recently partially rejected the reasoning in these cases (see Bateman v.
14   American Multi-Cinema, Inc., 623 F.3d 708 (9th Cir. 2010)), it still left open the
15   possibility that the annihilating damages doctrine could bar certification. See Gaines
16   Decl. at ¶ 25.
17         With respect to liability on the merits, Defendants argued that even if class
18   certification was granted and even if Plaintiff prevailed at trial, any potential damage
19   award would almost certainly be reduced through the Court’s equitable powers (see
20   Kearney v. Salomon Smith Barney, Inc., 39 Cal. 4th 95 (2006) [wherein the Supreme
21   Court applied its equitable powers to reduce substantial statutory damages to zero]).
22   Gaines Decl. at ¶ 26. Based on recording approximately 80,000 phone calls during
23   the applicable time frame, Defendants’ maximum exposure exceeded nearly half a
24   billion dollars – with no actual harm to any Class Member. See id.; see also Ratner v.
25   Chemical Bank NY Trust Co., 54 F.R.D. 412, 416 (S.D.N.Y. 1972); Kline v.
26   Coldwell, Banker & Co., 508 F.2d 226, 234-35 (9th Cir. 1974) (reversing the trial
27   court’s certification of an antitrust action involving 400,000-800,000 transactions and
28   damages of more than $250 million, finding that class treatment was not superior as it
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 1   would subject the defendants to “staggering damages” disproportionate to the actual
 2   harm suffered).
 3          Plaintiff, however, argued in favor of certification on numerous bases,
 4   including the fact that the alleged violations here were secret, class members did not
 5   know their telephone calls were being violated, and as a result, a class action was the
 6   only possible manner (e.g. it was superior to other forms of adjudication) by which to
 7   litigate these claims. Gaines Decl. at ¶ 27.
 8          Plaintiff’s counsel have litigated, or are familiar with, several other class action
 9   settlements approved by California state and federal courts which allege similar
10   privacy-related violations on behalf of California consumers. The value of the non-
11   reversionary fund alone (excluding entirely the substantial value of the service
12   benefit) is commensurate with the net settlement value (after deductions for
13   attorneys’ fees, costs, and administration expenses, if applicable) of these other
14   settlements on a per class member basis, as shown below3:
15                                              Net                             Settlement
                                                              Total Class
         Case Name         Case No.         Settlement                          Amount per
16                                                             Members
                                             Amount                            Class Member
17   Batmanghelich CV09-9190
     v Sirius XM   VBF (C.D.              $7,000,000        3,500,000          $2.00
18
     Radio         Cal.)
19
     Greenberg v.      L.A. Sup. Ct.
20                                        $5,625,000        1,400,000          $4.02
     E*Trade           BC360152
21                     CV10-08022
     Marenco v
22                     DMG (C.D.          $13,000,000       648,000            $20.06
     Visa
                       Cal.)
23
     Cohorst v.     CV10-02666
24                                        $3,500,000        1,170,000          $2.99
     BRE Properties (S.D. Cal.)
25
26
     3
27    All numbers are approximate and are based on documents publicly filed in these
     cases. Certain information was not available and, in such cases, reasonable estimates
28   are used.

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 1                     CV10-8672
     Skuro v.
                       GW (C.D.          $300,000         43,000            $6.98
 2   BMW, ATX
                       Cal.)
 3
 4   Adding in the value of the service benefit, the total compensation per-class member
 5   here is approximately $107 – a well above “average” result. Gaines Decl. at ¶ 28.
 6         Considering the risk that the Class would not be certified and that Plaintiff
 7   would not succeed at trial (or that a substantial judgment in the class’ favor would be
 8   reduced after trial), the present settlement represents an excellent compromise of
 9   Plaintiff’s claims. Gaines Decl. at ¶ 29.
10         B.     The Settlement is the Product of Serious, Arm's-Length, Informed
                  Negotiations and There are no Indications Present to Doubt its
11
                  Fairness
12
           The Parties engaged in arm’s-length, informed negotiations during the course
13
     of contentious litigation in order to reach the proposed Settlement. Gaines Decl. at ¶¶
14
     14-18.
15
           The judgment of experienced counsel is also an important factor in a court’s
16
     determination that negotiations were fair and informed. Absent fraud and collusion,
17
     the court may not only rely upon the judgment of experienced counsel, but should be
18
     hesitant to “substitute its own judgment for that of counsel.” Cotton v. Hinton, 559
19
     F.2d 1326, 1330 (5th Cir. 1977); see also Officers for Justice v. Civ. Serv. Comm’n of
20
     San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). Furthermore, the involvement of
21
     an objective, third-party neutral tends to demonstrate the presence of arm’s-length
22
     negotiations. See Martens v. Smith Barney, 181 F.R.D. 243, 262-63 (S.D.N.Y. 1998).
23
           Class Counsel have conducted significant investigation and discovery into the
24
     facts of this class action case, including taking depositions of the persons most
25
     knowledgeable at BMW and ATX in New York and Dallas. BMW and ATX have
26
     produced thousands of pages of documents, all of which were reviewed and analyzed
27
28
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 1   in advance of settlement negotiations. Extensive written discovery was exchanged as
 2   well. Gaines Decl. at ¶ 10.
 3         Based on this investigation and evaluation, Plaintiff’s counsel firmly believe
 4   the Settlement, on the terms set forth in the Stipulation, is fair, reasonable, adequate,
 5   and is in the best interest of the Settlement Class in light of all known facts and
 6   circumstances, including the risk of significant delay, the risk the Settlement Class
 7   will not be certified by the Court, defenses asserted by Defendants, and numerous
 8   potential appellate issues. Preliminary approval of the Stipulation of Settlement is
 9   appropriate. Gaines Decl. at ¶¶ 6, 19-29.
10   VI.   PROVISIONAL CLASS CERTIFICATION IS APPROPRIATE
11         The Named Plaintiff may, at the preliminary approval stage, request that the
12   Court provisionally approve certification of the class for settlement purposes,
13   conditioned upon final approval of the settlement. 4 Newberg § 11.26 (the court’s
14   findings “at a preliminary hearing or conference concerning a tentative settlement
15   proposal . . . may be set out in conditional orders granting tentative approval to the
16   various items…. These conditional rulings may approve a temporary settlement class,
17   the proposed settlement, and the class counsel’s application for fees and expenses.”)
18   Before a court evaluates a settlement under Federal Rule of Civil Procedure 23(e), it
19   must determine that the settlement class satisfies the requirements enumerated under
20   Rule 23(a) and at least one of the requirements in Rule 23(b). Molski v. Gleich, 318
21   F.3d 937, 946 (9th Cir. 2003). As discussed below, the proposed class meets all of
22   the requirements of certification for settlement purposes.
23         A.     FRCP 23(a) Requirements For Class Certification Are Met
24         Preliminary approval of the Settlement is justified because the class
25   certification requirements exist for the Settlement Class. Rule 23(a) provides the
26   factors that the Court looks to for class certification: (1) the class is so numerous that
27   joinder of all members is impracticable; (2) there are questions of law or fact
28   common to the class; (3) the claims or defenses of the representative parties are
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 1   typical of the claims or defenses of the class; and (4) the representative parties will
 2   fairly and adequately protect the interests of the class. All four of these elements are
 3   satisfied by the proposed class for Settlement purposes.
 4                1.    Numerosity
 5         If the class is sufficiently large that joinder of all members is impractical or that
 6   individual joinder is impractical, the numerosity requirement is met. See Cox v.
 7   American Cast Iron Pipe, 784 F.2d 1546, 1557 (11th Cir. 1986).
 8         The class contains approximately 43,000 members.             Therefore, joinder of
 9   individual claims would be impractical and the numerosity requirement is satisfied
10   for settlement purposes only. Gaines Decl. at ¶ 32.
11                2.    Commonality
12         The commonality requirement of Rule 23(a) is met if there are common
13   questions of fact and law among the class. Hanlon, 150 F.3d at 1019 (“The existence
14   of shared legal issues with divergent factual predicates is sufficient, as is a common
15   core of salient facts coupled with disparate legal remedies within the class”). Here,
16   the Settlement Class Members all seek the same remedies under identical state laws
17   under the same theories of recovery, all relating to the surreptitious recording of
18   telephone conversations. The same factual predicates apply to each and every Class
19   Member. The Settlement compensates Class Members for these identical claims.
20   Gaines Decl. at ¶ 33. Under these circumstances, the commonality requirement is
21   satisfied for settlement purposes. Id. at 1019-20; see also Cox, 784 F.2d at 1557.
22                3.    Typicality
23         The typicality requirement of Rule 23(a) is met if the claims of the Named
24   Plaintiff are typical of the class, though “they need not be substantially identical.”
25   Hanlon, 150 F.3d at 1020. Factual differences may exist between the class and the
26   Named Plaintiff, provided the claims arise from the same events or course of conduct
27   and are based upon the same legal theories.         Id.    Moreover, the typicality and
28   commonality elements of Rule 23(a) “tend to merge” because both assess whether the
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 1   claims of the class and the named plaintiffs are sufficiently interrelated to make class
 2   treatment appropriate. Gen. Tel. Co. of the SW v. Falcon, 12 S.Ct. 2364, 457 U.S.
 3   147, 157 n. 13 (1982).
 4         Here, Plaintiff Skuro’s claims are not only typical of those of all Class
 5   Members – they are identical. Plaintiff alleges his telephone conversations with
 6   Defendants were recorded without adequate notice or consent. This is the same claim
 7   alleged on behalf of all Class Members. Gaines Decl. at ¶ 34. Plaintiff satisfies the
 8   typicality requirement for settlement purposes because his claims arise from the same
 9   factual basis and are based on the same legal theories as those applicable to all
10   Settlement Class Members. Welmer v. Syntex 117 F.R.D. 641, 644 (N.D. Cal. 1987).
11                4.    Adequacy of Representation
12         Rule 23(a)(4) requires that the named plaintiff and class counsel fairly and
13   adequately represent and protect the interests of the class. If the Named Plaintiff and
14   Class Counsel have no interests adverse to the interest of the proposed class members
15   and are committed to vigorously prosecuting the case on behalf of the class, then the
16   adequacy requirement is met. Hanlon, 150 F.3d at 1020; see also Griffin v. Carlin,
17   755 F.2d 1516 (11th Cir. 1985).
18         Here, Plaintiff Sean Skuro has interests directly aligned with all Class
19   Members and has prosecuted this case on their behalf for an extended period. He has
20   no apparent conflicts with Class Members. He has demonstrated his commitment to
21   prosecute this Action on their behalf through its conclusion. Gaines Decl. at ¶ 35.
22         Under the proposed Settlement, Mr. Skuro will request a small service payment
23   – $10,000 – for his significant time and efforts, including sitting for his deposition
24   and assisting Class Counsel with factual issues surrounding the case. This award
25   represents about one-fifth of one percent of the total value of the settlement
26   consideration, and therefore does not constitute a sufficient conflict of interest to
27   foreclose fulfilling the adequacy requirement. See Stip. at ¶ 3.6; Gaines Decl. at ¶ 36.
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 1         Additionally, Plaintiff’s counsel are highly experienced litigators, with more
 2   than five decades of collective litigation experience.         As evidenced by the
 3   declarations of Kenneth S. Gaines, Daniel F. Gaines, and Alex P. Katofsky, filed
 4   herewith, each has substantial experience prosecuting complex class action cases,
 5   both in the consumer and employment contexts. As such, there is no conflict of
 6   interest between the Named Plaintiff, proposed Class Counsel, and the Settlement
 7   Class Members, and the adequacy element is met. Gaines Decl. at ¶¶ 2-5, 37;
 8   Kenneth S. Gaines Declaration at ¶¶ 2-5; Alex P. Katofsky Declaration at ¶¶ 2-4.
 9         B.    FRCP 23(b)(3) Requirements for Class Certification are Met
10         The proposed Settlement Class also meets the requirements of Rule 23(b)(3)
11   for settlement purposes because: 1) common questions predominate over questions
12   that affect individual members; and 2) class resolution is superior to other available
13   methods of adjudication. When assessing predominance and superiority, the Court
14   may consider that the class will be certified for settlement purposes only. Amchem
15   Prods., Inc. v. Windsor, 521 U.S. 591, 618-620 (1997). A showing of manageability
16   at trial is unnecessary; the dispositive inquiry at this stage is “whether the proposed
17   classes are sufficiently cohesive to warrant adjudication by representation.” Id. at
18   618-20, 623; see also Hanlon, 150 F.3d at 1022.
19               1.     Predominance
20         The claims of the Settlement Class here are sufficiently cohesive to warrant
21   certification. For settlement purposes, common questions of fact and law affecting
22   proposed Class Members in this case clearly predominate over questions that may
23   affect individual members. In analyzing predominance, as with commonality, “[i]t is
24   not necessary that all questions of fact or law be common, but only that some
25   questions are common and that they predominate over individual questions.” Cox,
26   784 F.2d at 1557. The test is whether the proposed class is sufficiently cohesive to
27   warrant adjudication by representation.     Here, the proposed Settlement Class is
28   sufficiently cohesive because all Settlement Class Members share a common nucleus
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 1   of facts and potential legal remedies – the same facts and law govern their claims;
 2   this Court could try their claims in representative fashion by common evidence
 3   regarding Plaintiff’s and Class Members’ claims, and identical law applies. All of the
 4   Settlement Class Members seek damages based on the same allegations. As a result,
 5   common questions of law and fact predominate here. Gaines Decl. at ¶ 38.
 6                2.     Superiority
 7         Particularly in the settlement context, class resolution is superior to other
 8   available methods for the fair and efficient adjudication of the controversy. See
 9   Hanlon, 150 F.3d at 1023. The superiority requirement involves a “comparative
10   evaluation of alternative mechanisms of dispute resolution.” Id. At 1023. Here, as in
11   Hanlon, the alternative method of resolution is individual claims for relatively small
12   amounts of damages, proving uneconomical for potential plaintiffs because the cost
13   of litigation dwarfs potential recovery. Id.
14         Perhaps the most persuasive argument in favor of the superiority of class
15   treatment here is the surreptitiousness of the alleged violations by Defendants; were a
16   class not certified, many (if not all) Class Members would not bring claims for the
17   violations alleged, because few (if any) know their calls were recorded: Defendants’
18   alleged unlawful conduct, by its very nature, is secret. As a result, class treatment is a
19   superior method for adjudicating these claims, and a class action is the preferred
20   method of resolution. Gaines Decl. at ¶ 39.
21   VII. THE PROPOSED CLASS NOTICE IS APPROPRIATE
22                A.     The Class Notice Satisfies Due Process
23         The Class Notice, attached as Exhibit “1” to the Stipulation of Settlement, is
24   intended to apprise all Class Members of the litigation and their right to claim a share
25   of the cash portion of the settlement, elect the service benefit, (or opt-out of/object to
26   it). The proposed notice meets the standards set forth in Rule 23(c)(2)(B) for classes
27   certified under Rule 23(b)(3). Defendants have last known addresses for all Class
28
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 1   Members, each of which currently or formerly subscribed to the BMW Assist service.
 2   Notice shall be provided by U.S. first class mail.
 3         Claims forms and the subscription agreement addendum may be accessed and
 4   submitted online through a website to be developed by the Settlement Administrator.
 5   The website shall also include information about the Action, including relevant
 6   documents.
 7         B.     The Proposed Notice is Accurate and Informative
 8         The proposed notice provides information on the meaning and nature of the
 9   proposed settlement and Settlement Class, the terms and provisions of the Settlement,
10   the relief the Settlement will provide Settlement Class Members, the amount of the
11   proposed service payment to Named Plaintiff, the amount of attorneys’ fees and costs
12   that Class Counsel may request, and the date, time and place of the final approval
13   hearing. The notice clearly and accurately describes the nature of the action, the
14   definition of the Settlement Class, and the class claims. See Ex. “1” to Stipulation.
15   The notice also informs class members that they may enter an appearance through
16   counsel if they so desire, indicate that the Court will exclude from the class any
17   member who requests exclusion, and explains the binding nature of class judgment
18   under Rule 23(c)(3). Id. The notice also provides class members with an opportunity
19   to file objections to the settlement as required by Rule 23(e)(4)(A). Id.
20         Further, the notice also fulfills the requirement of neutrality in class notices.
21   See 2 Newberg § 8.39. It summarizes the proceedings to date, Plaintiff’s allegations,
22   and the terms and conditions of the Settlement, in an informative and coherent
23   manner, in compliance with the Manual’s statement that “the notice should be
24   accurate, objective, and understandable to Class Members. . . .” Manual (Third) at §
25   30.211. The notice clearly states that the Settlement does not constitute an admission
26   of liability, and recognizes that the Court has not ruled on the merits of the action. It
27   also states that the final Settlement approval decision has yet to be made.
28   Accordingly, the notice complies with the standards of fairness, completeness and
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 1   neutrality required of a settlement class notice disseminated under authority of the
 2   Court. See Fed. R. Civ. P. 23(c)(2), 23(e); 2 Newberg §§ 8.21, 8.39; Manual (Third)
 3   §§ 30.211, 30.212.
 4   VIII. A FINAL APPROVAL HEARING SHOULD BE SCHEDULED
 5         The last step in the settlement approval process is the formal hearing, at which
 6   the Court may hear all evidence and argument necessary to evaluate the Settlement.
 7   At that hearing, proponents of the Settlement may explain and describe its terms and
 8   conditions and offer argument in support of Settlement approval, and members of the
 9   Settlement Class, or their counsel, may be heard in support of or in opposition to the
10   Settlement Agreement. The parties recommend that the hearing be held
11   approximately 154 days after preliminary approval by the Court, or on or about
12   August 2, 2012, which would give the Parties sufficient time to commence the
13   administration process and complete the notice program. At the same time, Plaintiff
14   will file and brief his application for an award of attorneys’ fees and costs, and for the
15   Plaintiff’s incentive award.
16   IX.   CONCLUSION
17         The Settlement is fair and reasonable and all of the requirements for
18   preliminary approval are met. The Court is therefore requested to grant this motion
19   and enter and order in the form submitted concurrently.
20
21   DATED: January 24, 2012                 Respectfully submitted,
22                                           GAINES & GAINES,
                                             A Professional Law Corporation
23
24
                                             By:       /s/
25
                                                       KENNETH S. GAINES
26                                                     DANIEL F. GAINES
                                                       ALEX P. KATOFSKY
27
                                                       Attorneys for Plaintiff Sean Skuro and
28                                                     Proposed Class Counsel
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